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SECURED, NOTABLE, TRANSFERABLE INSTRUMENT- MONEY ORDER MEETING ALL
REQUIREMENTS OF U.C.C- ARTICLE 3* AND ARTICLE 4* FOR CERTIFIED TRUE COPY OF .
ORIGINAL REGISTER INSTRUMENT

Promissory Note: ........6. ser NgO3, oe ee eoes

Tender in terms of the Bills of Exchange Act 34 of 1964 as amended up to Bills of Exchange Amendment Act 56 of 2000; AND settlements of
High Court Rule 45(8)(a) as well as Negotiable Instrument Act 1881; Public Law 73-10.

Ui 2
This promissory NOTE was issued at: Amount: / OO 7: oo
\ SLO CA Amount: [our hundred
Date: pls Bf 2? dollaes ———
This certifies that
I, CARLOS MOISES PEREZ RODRIGUEZ LD Number; __624792758/ F8573035

Hereby promise to pay____ CLERCK OF COURT US DISTRIC COURT (HOLDER) the full arnount specified on
, the NOTE, for value received.

Terms & Conditions

The payment can be obtained by the HOLDER at 41) PHILLIPS WAY, VISTA, CA. 92083, [hereby give permission to the HOLDER
and/or the HOLDER IN DUE COURSE of this Promissory Note, to use this NOTE in any way necessary as a negotiab} instrament to
financially trade on; whereas such trade shall terminate the obligation herein.

All Privileges Reserved without Prejudice , All Rights Reserved vitheut Prepldiee;
Authorized signature: CARLOS MOISES PEREZ RODRIGUEZ By:
Legal Presence Corporate Commercial Artificial Person, Deblor. Authorized hill ge 3-402(bK1))

in propria personn, creditor, non-legal, nan-
liablo, non-resident, sentient being dweller

State of California, County of San Diego

On 0 Ho ss Jaores before me, S$. Choves — metacs Kylie

Insert name and title of the officer

Personally appeared Coe tas presses Perez Rode. ue % who proved to me on the basis of satisfactory evidence to
be the person(s) whose name(s) is/are subscribed to within instrdment and acknowledged te me that he executed the same in his
authorized capacity, and that by his signature on the instrument the person or the entity upon behalf of which the person acted,
executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing os true and correct.

WITNESS my hand and official seal.

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Signatwe_ SL (eal ce
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BIVE [NA

soll

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Without prejudice

To: whom it may concern

Date: of 8/204

Dear: CHIEF FINANCIAL OFFICER

This is a LEGAL NOTICE OP PAYMENT Not a letter.

Find enclosed payment and final settlements to your client CLERK OF COURT US DISTRICT COURT
regarding Bill of Cost

Sincerely

In pure truth

Carlos of the Perez family (unlimited)

(Non-Assumpsit}

Tender in terms of the Negotiable Instrument Act 1881: Public law 73-10, Ch. 48, 48 Stat 112; U.C.C. Article 9;31
U.S.C.. 5118 (d){2}: 31 ULS.C, 463 public law 97- 258: U.C.C. Article 4,302;12 U.S.C 411. Securities Act 2 (1}, 3
(A}(3); Congressional Statues at Large title 62 Positive Law; 31 U.S.C; 5312 U.C.C; 2-304; 12 U.5,€ 1813 (1); Public
Policy and settlement in terms of United States High Court of Justice Rule 45.

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ACKNOWLEDGMENT

A notary public or other officer completing this
certificate verifies only the identity of the individual
who signed the document to which this certificate is
attached, and not the truthfulness, accuracy, or
validity of that document.

State of California
County of So 72. eyo )

On o4/o6 [2014 beforeme,  S. Cé4yver * gulgcy fable
{insert name and title of the officer)

personally appeared s(n, 0 Peises feree Kid eta €. a

who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

woe,

S. CHAVEZ — &

COMM. #2133807

NOTARY PUBLIC - CALIFORNIA)
SANDIEGO COUNTY 0

WITNESS my hand and official seal.

Signature = C2

